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TOMNIIE HAMPTON PLAINTIFF

vs. No. 04-2537»/111. GB~%U.S Q€SIRK:TOOW
OF ?~ .lfIEMPl-ls

CITY OF MEMPHIS, TENNESSEE,

L. McNair, Individually, and m His Oflieial Capacity

as a police officer with the City of Memphis Police Department,

C. Teeters, Individual|y, and 111 His Offlcial Capaclty

as a police officer with the City of Memphis Police Department,

B. Holland, Individually, and° m His Oflieial Capacity

as a police officer with the City of Memphis Police Department,

F. Boyce, Individually, and' 111 His Ofl'ieial Capacity

as a police omcer with the City of Memphis Police Department DEFENDANTS

 

ORDER GRANTING MO'I`ION TO EXTEND
CERTAIN SCHEDULING ORDER DEADLINES

 

Before the court is plaintiff s Motion to Extend Certain Scheduling Order Deadlines filed
on July 22, 2005. For good cause shown, the motion is GRANTED` The Scheduling Order shall
be modified to reflect the following deadlines

Completing Written Discovery August 31, 2005

Depositions August 31, 2005

The other deadlines previously established shall remain in effect

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S. Thomas Anderson
United States Magistrate lodge

Date: ;M/' JZ . 200.$/
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IT IS SO ORDERED.

This document entered on the docket sheet ln compliance

with ama 53 andfor rs(a) FncP on 1'5‘05 //@

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Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
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EssEE

 

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125 N. Main Street

Room 336

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Honorable J on McCalla
US DISTRICT COURT

